      Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 1 of 42




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §      Consolidated Case No. 5:21-cv-844-XR
v.                                      §
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §



       Documents Produced with State Defendants’ Initial Disclosures
                          November 5, 2021


           Copy Filed with the Court November 15, 2021 (ECF 112)

                                   Senate Bill 1
                              Legislative Session: 87
                              Second Special Session

                                      Part V
        Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 2 of 42




Date: November 15, 2021                        Respectfully submitted.

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     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on November 15, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
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Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 3 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 4 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 5 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 6 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 7 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 8 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 9 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 10 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 11 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 12 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 13 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 14 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 15 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 16 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 17 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 18 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 19 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 20 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 21 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 22 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 23 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 24 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 25 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 26 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 27 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 28 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 29 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 30 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 31 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 32 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 33 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 34 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 35 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 36 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 37 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 38 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 39 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 40 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 41 of 42
Case 5:21-cv-00844-XR Document 117-1 Filed 11/15/21 Page 42 of 42
